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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                                ROCK HILL DIVISION
                                   CIVIL CASE NO.

 KIMBA “KYM” HALL

 Plaintiff,                                                    0:19-cv-02146-MGL

 vs.                                                          COMPLAINT

 CAROWINDS LLC;                                         JURY TRIAL DEMANDED
 CEDAR FAIR SOUTHWEST INC.;
 CEDAR FAIR, L.P. DBA CEDAR FAIR
 ENTERTAINMENT COMPANY,

 Defendants.



        NOW COMES the above-named Plaintiff, Kimba “Kym” Hall, and brings this

action for personal injuries sustained at Carowinds amusement park in South Carolina

on August 12, 2016, and complaining of the Defendants herein, Plaintiff respectfully

shows and alleges unto the Court as follows:



                                         PARTIES



        1.     Plaintiff Kimba “Kym” Hall (hereinafter “Plaintiff”) brings this action for

personal injuries sustained at the Carolina Harbor water park at Carowinds in South

Carolina on August 12, 2016. Plaintiff is a citizen and resident of York County, South

Carolina.
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        2.   Defendant “Carowinds, LLC” is a limited liability Delaware corporation,

incorporated for the purpose of owning and operating assets in connection with the

Carowinds amusement park. Upon information and belief, the sole member of

Carowinds, LLC is Cedar Fair Southwest, Inc. Carowinds, LLC is registered and in

good standing to conduct business in South Carolina, and its registered agent for

service of process is Corporation Service Company, 1703 Laurel Street, Columbia,

South Carolina, 29201.



        3.   Defendant “Cedar Fair Southwest, Inc.” is, upon information and belief,

a limited liability Delaware corporation, and a wholly-owned subsidiary of Cedar Fair,

L.P. (d/b/a “Cedar Fair Entertainment Company”). Cedar Fair Southwest, Inc. is

registered and in good standing to conduct business in the state of South Carolina, and

its registered agent for service of process is Prentice Hall Corporation, 1703 Laurel

Street, Columbia, South Carolina, 29201.



        4.   Defendant “Cedar Fair, L.P.” is, upon information and belief, a publicly

traded Delaware limited partnership, doing business as “Cedar Fair Entertainment

Company.” Its registered agent for service of process is Corporation Service Company,

251 Little Falls Drive, Wilmington, Delaware, 19808. Upon information and belief,

Defendant Cedar Fair, L.P. acquired “Carowinds” amusement park in or around June of

2006.




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      5.      “Cedar Fair Entertainment Company” is one of the largest regional

amusement park operators in the world, and owns eleven amusement parks, including

“Carowinds,” a combination amusement and water park.



      6.      Defendants are properly named in this action.



      7.      At all times mentioned in this complaint and upon information and belief,

Defendants owned, controlled, supervised, and/or maintained the premises and

operated an amusement park known as Carowinds located, partially, in Fort Mill, South

Carolina.



      8.      Carowinds invited the general public, including Plaintiff, to enter its

premises to purchase food, beverages, merchandise, and ride amusement rides.



      9.      Plaintiff, at all times mentioned in this complaint, was an invitee of

Defendants.



      10.     At all times relevant to this action, Defendants are liable for the acts and/or

omissions of its respective agents, servants and/or employees acting within the scope

of their agency and/or employment pursuant to the doctrine of respondeat superior.



                                      JURISDICTION




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       11.    Plaintiff brings her complaint under federal diversity jurisdiction, 28 U.S.C.

1332, as the parties are completely diverse in citizenship and the amount in controversy

exceeds $75,000.



       12.    The parties to this action and the acts and omissions complained of herein

are subject to the jurisdiction of this Court and venue is proper.



                                    FACTUAL ALLEGATIONS



       13.    Carowinds is a 407-acre amusement park, located adjacent to Interstate

77 in Charlotte, North Carolina. Although it has an official North Carolina address, the

park is located on the state line of the Carolinas, with a portion of the park also located

in Fort Mill, South Carolina.



       14.    The water park within Carowinds, known as “Carolina Harbor,” is located

in Fort Mill, South Carolina.



                      The Waterpark Accident of August 12, 2016



       15.    In the late afternoon of August 12, 2016, Plaintiff was spending time at

Carolina Harbor with her daughter (Crystal Myers), her 11-year old granddaughter

(A.A.M.), and A.A.M.’s friend (O.M.); who was also 11 years old at the time.




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       16.    Plaintiff, A.A.M., and O.M. entered the waterslide area of Carolina Harbor

called “Seaside Splashworks” while Crystal enjoyed time by the pool area.



       17.    According to Carowinds’ website, as set forth on the attached Exhibit A,

“Seaside Splashworks” is a “multi-level play structure” featuring “over 80 play elements,

including dozens of interactive spray jets, water guns, adventuresome net bridges,

awesome water wheels, six impressive water slides and a giant 423-gallon tipping

bucket that drenches everyone below……… the perfect mixture of adventure, relaxation

and entertainment.”



       18.    Shortly after 4:00 PM, A.A.M. and O.M. began climbing up the stairway to

the platform area leading to the water slides. Plaintiff followed them.



       19.    A.A.M. and O.M. crossed the net bridge on the way to the water slides

successfully, and went down the water slide.



       20.    Plaintiff attempted to follow them across the net bridge, a bridge she had

never crossed before, to follow them down the water slide.



       21.    As Plaintiff began to step across the net bridge, and as she progressed to

somewhere in the middle of the net bridge.


       22.    The net bridge, by design, had a significant sag in the middle, similar to

the shape of a bowl, which caused the net bridge to slope downward from the platform



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to the center of the net bridge and slope upward from the middle of the net bridge to the

platform on the opposite side.


       23.     Unfortunately, despite the design, the net bridge contained no handrails

for safety.


       24.     Because of the uneven surface caused by the sag and the net-like

material, the net bridge was not conducive to good balance and stability.


       25.     Because of the design of the net bridge, Plaintiff’s toe(s) became caught in

one of the openings of the net bridge.


       26.     As a result, Plaintiff lost her balance and fell face down, her face violently

striking against the hard and abrasive surface of the net bridge.



       27.     Without any safety guard rails placed inside the net bridge, Plaintiff was

unable to keep herself from falling.


       28.     The surface of the net bridge, as her face struck it from the violent fall, was,

upon information and belief, extremely abrasive and sharp making it a dangerous or

potentially hazardous structure in a public place, likely to injure patrons, like the Plaintiff, in

the event of a fall.


       29.     The dangerous or potentially hazardous net bridge is the responsibility of the

defendants.




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       30.    Bleeding profusely, Plaintiff lay there, dazed, as people walked around her

from one platform to the other.



       31.    She asked for help, but no one that passed her offered her assistance.



       32.    Likewise, the lifeguard at the pool, who, upon information and belief was

and employee or independent contractor of Carowinds and/or the water park and/or one

of the named Defendants, remained only a few feet away, yet did not come to provide

any assistance.



       33.    After approximately 10 minutes or more, Plaintiff, now bleeding profusely,

dazed and in great pain, literally crawled to the other side of the net bridge, and down

the steps.



       34.    As Plaintiff crawled, she left a trail of blood going down the steps, and then

across the concrete, before pulling herself up into a chair beside the pool.



       35.    During this time, Plaintiff was experiencing excruciating and unrelenting

pain, and blood continued to pour from her face and mouth.



       36.    As she bled by the pool area, a young life, guard, upon information and

belief was and employee or independent contractor of Carowinds and/or the water park




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and/or one of the named Defendants, passed her and then stood no more than 10 feet

away, but still did not provide her any assistance.



         37.   Still bleeding and in pain, her daughter, Crystal, who had accompanied

her to Carowinds that day, found her bleeding by the pool area.



         38.   At this point, Crystal went over to the young life guard and asked for

medical assistance.



         39.   The lifeguard then came over to where Plaintiff was still bleeding

profusely.



         40.   Both Plaintiff and Crystal were begging for medical attention.


         41.   Crystal, meanwhile, specifically approached the young lifeguard and

asked for medical attention, and for someone to bring either a wheelchair or a stretcher

to take Plaintiff to a first aid station and then to an ambulance.


         42.   Even still, the young lifeguard delayed in getting much-needed emergency

medical assistance, and approached the situation with a nonchalant attitude.



         43.   Meanwhile, so much blood had poured onto the concrete floor and the

stairs that parents were actively and consciously scaring their children away from all the

blood.




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        44.     When the young life guard finally arrived, instead of immediately

requesting assistance for Plaintiff, he instead sent for someone to return with a bottle of

an ammonia-smelling substance to begin scrubbing the blood up from the ground.



        45.     In other words, immediately following this accident, the blood on the

ground seemed a greater concern to Carowinds’ representatives than Plaintiff’s health,

as she sat there bleeding profusely in the heat of the sun.



        46.     Finally, after Crystal continued to plead with the lifeguard for medical

assistance, he called for a wheelchair, and Plaintiff was finally taken to the first aid

station, where the ambulance was called.



        47.     Nearly one hour had passed from the time Plaintiff had tripped, lost her

balance, fallen, and smashed her face on the net bridge until she finally arrived at a first

aid station at Carowinds.



        48.     This sequence of events marked the beginning of a medical nightmare

that will affect Plaintiff for the rest of her life.



                      Dangerous Net Bridge at Seaside Splashworks




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       49.    The water slide “net bridge” that Plaintiff attempted to cross that day is

several feet up in the air, and connects the entrance of one slide to the others.



       50.    Because of the uneven surface and sagging in the net bridge (a horizontal

curvature from left to right and a slight dip down in the middle as one walks across),

because of fishnet like netting on the surface posing a tripping hazard, and a hazard for

loss of balance and falling, and because there are no hand rails inside the net bridge to

help patrons balance themselves as they cross over the net bridge, the net bridge

presents an inherent danger, particularly to older adults, who may not have the natural

ability to balance that they once had.



       51.    To put the situation into perspective, attached to this Complaint is a

photograph of the entrance to the net bridge, and then several photographs of the net

bridge itself. These photographs were taken on Saturday, Aug 13, 2016, the day

following the accident.



       52.    The first photograph, marked Exhibit B, depicts the actual entrance to the

net bridge area in the water park, taken the day after the accident.



       53.    There is an orange stairway at the bottom center of the photograph, just to

the right of the lady wearing the orange shirt.




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       54.     This photo of the main entrance going into the water slide area where the

net bridges are located, shows the area that Plaintiff ascended prior to reaching the net

bridge area.



       55.     About 10 steps ascend from the concrete exterior floor, which has water

all over it because this is a water slide area, up into the first landing area.



       56.     Just to the left and to the right of the main stairway area, there are blue

handrails, which appear to be in place beginning around the second step from the

bottom.



       57.     These handrails, naturally, provide stability for water park guests both

entering and exiting the water slide area, as they ascend to and descend from the

elevated platforms where the net bridges and the tops of the water slides are located.


       58.     However, as will later be seen, part of the problem, which contributed to

this accident, occurred because there are no handrails or anything else for guests to

hold onto inside of the dangerous net bridges.



       59.     However, there are no warning signs, neither in the entry area, nor any

area around the water slides about any potential dangers based upon the design of the

net bridges.




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       60.    Waterpark guests have no way of knowing the potential danger that awaits

them after they enter the waterslide area, based upon the design.



       61.    Plaintiff remained unaware of any danger as she ascended up the initial

stairway to the waterpark with her granddaughter and her granddaughter’s friend.



       62.    Also, the flooring inside the net bridge was made of an inherently

dangerous or potentially hazardous material, hard enough and apparently sharp enough

to do great damage should a patron slip and fall.



       63.    Plaintiff’s face after the fall, cut, bruised, damaged, and full of broken

bones, proves the danger of the flooring substance in that net bridge.



       64.    As can be seen from this photograph, marked Exhibit C, the center of the

net bridge sags down, slightly, from both the entrance and the exit area.



       65.    The net bridge sags even further, creating an increasingly uneven surface

as soon as a person steps off the platform to start to cross it.



       66.    This sagging is further demonstrated in the next photographs, attached as

exhibits to the complaint.




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       67.    In the photograph, marked Exhibit D, taken from the side of the net bridge

at a slightly different angle, there is a dip, which stretches all the way across that bridge,

from the entrance, at the right side of the photo as shown, to the exit section, on the left

side of the photo as shown.



       68.    In the photograph, marked Exhibit D, there are also large, potentially

hazardous holes, in the walking surface, presenting a tremendous tripping hazard,

and/or a loss of balance and falling hazard – with no warning signs.



       69.    The photograph, marked Exhibit E, provides an interior shot of the net

bridge, which gives a very clear inside illustration of the dip, which moves all the way

across the net bridge.



       70.    The photograph, marked Exhibit E, also shows the view that Plaintiff had

when she stepped out onto the net bridge before the traumatic accident occurred. Note,

again, the absence of a warning sign about any tripping hazard, and/or no sign warning

about a loss of balance and falling hazard, nor any other warning that the structure is as

dangerous as it turned out to be.



       71.    Plaintiff was facing at least 4 hazards on the net bridge when she was

injured, which Plaintiff will attempt to explain by this illustration marked as Illustration 1,

shown immediately below.


                                          ILLUSTRATION 1



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        72.     In analyzing Illustration 1, above, Point B is the point where Plaintiff

stepped off of the platform onto the net bridge. Point A is the middle of the net bridge,

where the sag is most prominent. Point C is the platform on the other side of the net

bridge.

        73.     This net bridge featured at least four hazards, all which contributed to

Plaintiff’s fall and injury.

        74.     These 4 hazards include:



                (1)     The “dip” that exists in the bridge as the Plaintiff crosses from left to

                        right at point “A”;



                (2)    The bowl-like “sag” that Plaintiff faces as soon as she steps onto the

                       net bridge from the platform, as shown in the Illustration below;




                (3)     The fishnet-like surface that she steps on, which causes her foot to

                        get caught, as shown in the Illustration below;


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               (4)    And, the fact that there is no meaningful type of handrail system on

                      either side of the net bridge to help stabilize patrons who may be

                      using the net bridge as a means of foot transit from one water slide

                      to the other.



         75.   In the attached photograph, marked Exhibit E, one can see very clearly

the “left-to-right view,” referred to above. This photograph shows the sagging contour,

dipping down to the center, which creates a lack of stability and leads to loss of balance

and falling issues and potential tripping hazards.



         76.   Again, the sagging, bowl-like contour, contributing to instability and the

plaintiff’s fall, in addition to Exhibit E, is demonstrated by the illustration immediately

below:




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       77.    As shown on Exhibit A, Defendants advertised these “adventuresome net

bridges” as an attraction on its website to draw in potential visitors and customers - not

just “net bridges,” but “adventuresome” net bridges.



       78.    However, just as no warning signs were posted about possible tripping or

loss of balance and falling hazards before patrons entered these “adventuresome” net

bridges, nor were warnings posted at the entrance to the waterslides, likewise, no

warnings are found posted on Carowinds’ public website either.



       79.    Throughout all of this, Plaintiff exercised due care and was walking on a

foreseeable path.



                          Medical and Dental Consequences

                             Resulting from the Net Bridge



       80.    As a result of entering the “adventuresome” net bridge, however, Plaintiff

sustained serious personal and bodily injuries.



       81.    Plaintiff's medical injuries are extremely significant and complex, but for

the sake of a plain statement can be summarized into three major categories: These



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include (1) major dental injuries to her teeth and jaw bone, (2) permanent scarring and

disfigurement, and (3) life-threating, trauma-induced Latent autoimmune diabetes in

adults (LADA), all as a result of tripping and losing her balance on the net bridge.



       82.     These injuries have caused her to suffer and endure considerable pain

and discomfort.



       83.     Plaintiff has been compelled to expend significant sums of monies for

numerous medical and dental treatments and for the services of medical and dental

providers under whose care she has been and continues to be.



       84.     Plaintiff, upon information and belief, will be compelled to expend

additional monies for further medical and dental treatment required in the future and for

the rest of her life.



       85.     Plaintiff has and will continue to be prevented from attending to her

ordinary affairs and duties.



       86.     Plaintiff, upon information and belief, will continue to be deprived of the

normal enjoyments of life she otherwise would have.




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       87.    Plaintiff, upon information and belief, will continue to endure discomforting

pain and suffering, which she otherwise would not have, had she not been injured and

damaged.



       88.    Plaintiff has incurred personal injury, pain, suffering, loss of enjoyment of

life, and impairment of health and bodily efficiency as a result of this incident.



                           FOR A FIRST CAUSE OF ACTION

                                       (Negligence)



       89.    Plaintiff restates and realleges every allegation as if repeated herein

verbatim.



       90.    At all relevant times in this complaint, defendants owed plaintiff a duty to

maintain its premises in a reasonably safe condition, to correct dangerous or potentially

hazardous conditions of which defendants either knew or should have known, by the

use of reasonable care, and to properly warn plaintiff of any dangerous or potentially

hazardous conditions.



       91.    Defendants further eroded duty of care to its patrons, including plaintiff, to

discover risks and take safety precautions to eliminate foreseeable risks.




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       92.    Defendants constructed a defective net bridge that caused a patron, the

plaintiff, to trip, fall, and suffer the medical complications set forth in paragraph 67.



       93.    Defendants, as owner and operator of an amusement park, violated its

duty to use reasonable care to protect plaintiff from unreasonably dangerous or

potentially hazardous conditions it created or knowingly permitted to exist on the

premises, and was careless, negligent, and/or grossly negligent in its acts and/or

omissions at the time and place above mentioned in the following particulars:



              a.      In failing to construct and or maintain its premises in a reasonably

                      safe condition;

              b.      In failing to keep its premises free from hazards that are within its

                      control to prevent;

              c.      In failing to correct dangerous or potentially hazardous conditions,

                      which defendants knew or should have known about with the use of

                      reasonable care;

              d.      In failing to provide adequate verbal or visual warnings of the

                      dangerous or potentially hazardous conditions on the net bridge

                      (walking path);

              e.      In failing to place warning signs, guardrails, handrails, painted

                      markings or other measures to reduce the risk of tripping and/or loss

                      of balance and falling due to the uneven surface upon the defective

                      net bridge;




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              f.     In failing to inspect its premises for the safety of its patrons and

                     invitees;

              g.     In creating a dangerous or potentially hazardous condition and

                     unnecessary risk to invitees;

              h.     In failing to promptly correct the unreasonably dangerous or

                     potentially hazardous conditions once created;

              i.     In failing to train employees, agents and or servants to thoroughly

                     patrol property owned and maintained by the defendants to discover

                     safety hazards;

              j.     In failing to exercise due care for the safety of patrons and guests;

              k.     In failing to use that degree of care and caution that a reasonable and

                     prudent person or entity would have used under the same

                     circumstances;

              l.     In failing to otherwise exercise due care with respect to the matters

                     alleged in the complaint;

              m.     By such other particulars as may be found through discovery or trial.



        94.   That as the direct and proximate cause of the aforesaid negligent, grossly

negligent, careless, reckless, willful, and wanton acts and omissions of the Defendants,

Plaintiff:



              a.     Was severely and painfully injured, and temporarily disabled;

              b.     Suffered injuries as set forth at paragraph 81 herein;




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       c.    Has incurred and will continue to incur, expenses for the services of

             doctors, dentists, nurses, hospitals, therapists, medicines, and

             special equipment;

       d.    Was subjected to extreme pain, mental anguish, suffering, and

             discomfort over a long period of time;

       e.    Has incurred, and will continue to incur, pain, suffering, and loss of

             enjoyment of natural life;

       f.    Has suffered, and will continue to suffer emotional distress,

             embarrassment, humiliation, and anxiety;

       g.    Has experienced, and will continue to experience physical

             impairment;

       h.    Suffered damage to her personal property;

       i.    Has been and will be prevented from attending to Plaintiff’s usual and

             ordinary social and domestic activities and/or responsibilities;

       j.    That Plaintiff has suffered, and will continue to suffer emotional

             distress, embarrassment, humiliation, and anxiety;

       k.    Has sustained a loss of future income.

       l.    Faces a considerable loss in her life expectancy.



                 FOR A SECOND CAUSE OF ACTION

        (Negligent Hiring, Training, Supervision and Retention)




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       95.     Plaintiff restates and realleges every allegation as if repeated herein

verbatim.



       96.     The young lifeguard in this case, who was, upon information and belief

apparently a Carowinds employee, and therefore an agent of Carowinds and/or the other

defendants, and who was operating at the time of Plaintiff’s injury under the doctrine of

respondeat superior, acted negligently in not providing Plaintiff with first aid in a timely

manner following her injury, as she sat bleeding in plain view.



       97.     Upon information and belief, this one-hour delay, as Plaintiff’s blood glucose

rose to dangerous or potentially hazardous levels, exacerbated her medical and dental

issues.


       98.     The lifeguard’s delay in getting prompt medical attention also exacerbated

Plaintiff’s pain and suffering, as she could have received pain-relieving morphine, which

she was eventually administered by medical personnel as a result of the fall, at least one

hour earlier than actually occurred.


       99.     But, because of the lifeguard’s delay in failing to promptly act, Plaintiff lay in

pain, unnecessarily, for a period of at least one hour, bleeding, and suffering, with her teeth

virtually knocked out, under the hot sun.


       100.    The lifeguard’s delay greatly prolonged and increased Plaintiff’s pain and

suffering as a result of the fall.




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       101.   Plaintiff is informed and believes that Defendant was negligent, careless,

reckless, wanton, and grossly negligent at the time and place hereinabove mentioned in

the following particulars:



                  a. In failing to have in place policies and procedures to train, supervise

                      and/or retain its employees, or if such procedures were in place, in

                      failing to enforce them;

                  b. In failing to have in place adequate policies and procedures to

                      mandate compliance by its employees with policies procedure, and

                      standards related to the safety of its customers and maintenance of

                      its water park and if such procedures were in place, in failing to

                      enforce them;

                  c. In failing to ensure that its employees had the proper training and

                      experience to be able to provide for the safety of the subject water

                      park and customers of the Defendants.

                  d. In generally failing to use the degree of care and caution that a

                      reasonably prudent entity would have used under the same or similar

                      circumstances.




       102.   That because of the acts and/or omissions of Defendant as enumerated

hereinabove, which resulted both proximately and directly in the damages also set out




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above, the Plaintiff seeks actual damages against Defendants as well as punitive

damages.



       103.   Plaintiff is informed and believes that she is entitled to judgment against

Defendants in this matter.



       WHEREFORE, Plaintiff prays of the Court as follows:



       1. That judgment be entered against Defendants for actual damages in an

           amount to be determined by a jury of her peers;

       2. For punitive damages in an appropriate amount, as may be warranted by the

           evidence at trial;

       3. For the costs incurred in bringing this action, and

       4. For such other and further relief as this Court may deem just and proper

           under the circumstances.




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Respectfully submitted, this the 31st day of July, in the Year of our Lord, 2019.



                                                 /S/Donald M. Brown, Jr.
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                                                    NC Bar Number 14178
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